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 12
                          UNITED STATES DISTRICT COURT
 13
                         CENTRAL DISTRICT OF CALIFORNIA
 14

 15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
      LEAGUE’S “SUNDAY TICKET”
 16   ANTITRUST LITIGATION
                                                PLAINTIFFS’ MEMORANDUM IN
 17   THIS DOCUMENT RELATES TO                  SUPPORT OF THEIR MOTION IN
      ALL ACTIONS                               LIMINE NO. 2 TO EXCLUDE
 18                                             IMPROPER EVIDENCE AND
                                                ARGUMENT REGARDING THE
 19                                             RELIEF SOUGHT BY PLAINTIFFS
 20                                             JUDGE: Hon. Philip S. Gutierrez
                                                DATE: February 7, 2024
 21                                             TIME: 2:30 p.m.
                                                COURTROOM:
 22                                              First Street Courthouse
                                                 350 West 1st Street
 23                                              Courtroom 6A
                                                 Los Angeles, CA 90012
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  1           Plaintiffs respectfully request that this Court preclude the NFL Defendants
  2   from seeking to introduce evidence or making arguments about the following subject
  3   matters pursuant to Federal Rules of Evidence 401, 402, and 403.
  4
         I.      This Court Should Prohibit Evidence or Argument Concerning Any
  5              Injunctive Relief
  6           Pursuant to Federal Rules of Evidence 401, 402, and 403, Plaintiffs move in
  7   limine for an order prohibiting the NFL from referencing or presenting any evidence
  8   or argument about the fact that Plaintiffs are seeking or may be entitled to any
  9   injunctive relief as authorized by the federal antitrust laws, 15 U.S.C. § 26. It should
 10   be noted that the NFL has already agreed to Plaintiffs’ motion in limine to preclude
 11   the introduction of evidence and argument concerning treble damages and attorney
 12   fees and costs, which are authorized by the same federal statute that permits
 13   injunctive relief, 15 U.S.C. § 15. These statutory provisions—including treble
 14   damages, attorney fees, and injunctive relief—work in concert to ensure private
 15   enforcement of antitrust laws and deterrence of violations. These Court-ordered
 16   statutory remedies lack any relevance to the factual issues to be decided by the jury,
 17   and their mention could only contaminate the jury’s consideration of the facts that
 18   matter here.
 19           The consequences of an antitrust violation are significant, by design of
 20   Congress. Under the Clayton Act, a successful antitrust plaintiff “shall . . . have
 21   injunctive relief,” as appropriate. 15 U.S.C. § 26. Injunctive relief, in addition to other
 22   relief available under the Clayton Act (such as treble damages), serves to remediate,
 23   punish, and deter economic harm. See Zenith Radio Corp. v. Hazeltine Rsch., Inc.,
 24   395 U.S. 100, 130-31 (1969) (“[T]he purpose of giving private parties treble-damage
 25   and injunctive remedies was not merely to provide private relief, but was to serve as
 26   well the high purpose of enforcing the antitrust laws.”); Perma Life Mufflers, Inc. v.
 27   Int'l Parts Corp., 392 U.S. 134, 139 (1968) (“Perma Life”) (noting “the usefulness
 28   of the private action as a bulwark of antitrust enforcement” and “the purposes of the

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  1   antitrust laws are best served by insuring that the private action will be an ever-
  2   present threat to deter anyone contemplating business behavior in violation of the
  3   antitrust laws.”), overruled in part on other grounds by Copperweld Corp. v.
  4   Independence Tube Corp., 467 U.S. 752 (1984).
  5         But this Court alone is responsible for determining the appropriateness and
  6   scope of injunctive relief after trial. The jury’s factfinding role ends once it
  7   determines liability and the amount of damages, at which point this Court must, as a
  8   matter of law, determine the suitability of injunctive relief. See, e.g., eBay Inc v.
  9   MercExchange, L.L.C., 547 U.S. 388 (2006); Brooks v. Cook, 938 F.2d 1048, 1052
 10   (9th Cir. 1991) (“Brooks”); United States ex rel. Miller v. Bill Harbert Int’l Constr.,
 11   Inc., No. 95-1231, 2007 WL 851868, at *2 (D.D.C. 2007) (“[T]he jury’s job in this
 12   case will be to determine the number of violations and fix the amount of actual
 13   damages, if any. The application of statutory penalties and trebling of damages are
 14   mechanical actions for the Court alone.”).
 15         Given this division of labor—and the need to protect the scheme mandated by
 16   Congress—federal courts invariably shield antitrust juries from learning of the
 17   Clayton Act’s compulsory remedies. See, e.g., In re Static Random Access Memory
 18   (SRAM) Antitrust Litig., No. 07-md-1819 CW (N.D. Cal.), Order on Motions In
 19   Limine and for Pre-Trial Preparation, at *6 (Dec. 16, 2010) (Dkt. No. 1206); United
 20   States Football League v. Nat’l Football League, No. 84-7484, 1986 WL 7012, at
 21   *2-3 (S.D.N.Y. June 17, 1986) (“United States Football League”) (barring the NFL
 22   “from referring to the possibility of injunctive relief in front of the jury, since such
 23   references would needlessly confuse the issues and unfairly prejudice plaintiffs”).
 24   These important safeguards prevent any jury action that might require
 25   “consider[ation of] the ‘impact’ of uncertain injunctive relief.” United States
 26   Football League, 1986 WL 7012, at *2-3.
 27         The Federal Rules of Evidence compel this prohibition. After all, any remedy
 28   provided by this Court pursuant to its statutory duties is a question of law and
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  1   irrelevant to the issues that the jury needs to address. Fed. R. Evid. 401; see, e.g.,
  2   Pollock & Riley, Inc. v. Pearl Brewing Co., 498 F.2d 1240, 1243 (5th Cir. 1974)
  3   (discussing that “a district court can sufficiently instruct the jury to determine only
  4   actual damages” and that the Clayton’s Act statutory remedies “ha[ve] no relevance
  5   in determining the amount a plaintiff was injured by the anti-trust violation.”);
  6   Amdocs (Israel) Ltd. v. Openet Telecom, Inc., No. 1:10-cv-910, 2012 WL 12832376,
  7   at *1 (E.D. Va. Mar. 30, 2012) (“Whether injunctive relief is appropriate should
  8   plaintiff prevail, will be determined solely by the Court.”).
  9         Even if this Court’s statutory consideration of injunctive relief had any
 10   probative value for the jury, it would be substantially outweighed by the possibility
 11   of prejudice, confusion, and wasting time. Fed. R. Evid. 403. As numerous courts
 12   have concluded, there is no reason to inform the jury of the Clayton Act’s features
 13   other than to sow confusion and invite prejudice, including by improperly seeking to
 14   reduce the damages award or by “warning” the jury of the potential implications of
 15   injunctive relief, so as to evade liability. See Brooks, 938 F.2d at 1052 (describing
 16   “[t]he justifiable fear of anti-trust plaintiffs … that the juries will adjust the damage
 17   award downward or find no liability, therefore thwarting Congress’s purpose,
 18   because of some notions of a windfall to the plaintiff”); Semke v. Enid Auto. Dealers
 19   Ass’n, 456 F.2d 1361, 1370 (10th Cir. 1972) (“[I]n an antitrust case it is not for the
 20   jury to fix the amount of the judgment. Its function is completed once it determines
 21   the amount of damages. As we view it, therefore, it serves no useful function to
 22   communicate this information to the jury and it is potentially harmful, and hence this
 23   action of the trial court was error.”).
 24         In this District, one court has warned that “reference to the possibility of
 25   injunctive relief could distract the jury from its job of determining whether and in
 26   what amount damages should be awarded.” Broadcom Corp. v. Emulex Corp., No.
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  1   2011 WL 13130705, at *1 (C.D. Cal. Aug. 10, 2011).1 Indeed, the NFL has
  2   previously been barred in an antitrust case “from referring to the possibility of
  3   injunctive relief in front of the jury, since such references would needlessly confuse
  4   the issues and unfairly prejudice plaintiffs.” United States Football League, 1986 WL
  5   7012, at *2-3 (“[An] antitrust jury forced to consider the ‘impact’ of uncertain
  6   injunctive relief … could become hopelessly confused. For example, in the instant
  7   case, neither plaintiffs nor defendants can predict with certainty what injunctive
  8   relief, if any, this Court may eventually grant to the USFL.”).
  9             Plaintiffs’ statutory entitlement to any injunction is simply irrelevant to the
 10   jury’s task of determining liability, and if there were some relevance, the possibility
 11   of unfair prejudice, confusion of the issues, and jury misdirection is far too great.
 12   Under these circumstances, this Court should prohibit any mention of such relief
 13   available to Plaintiffs.
 14
          II.      This Court Should Prohibit Evidence or Argument Concerning Any
 15                Financial Benefit or “Pass on” of Any Overcharge, Any Supposed
                   Failure to Mitigate Damages, and Any Supposed Fault from Plaintiffs’
 16
                   Consumer Choices
 17

 18             Furthermore, the NFL should be prevented, under Federal Rules of Evidence
 19   401, 402, and 403, from presenting any irrelevant evidence or argument casting
 20   blame on Plaintiffs for their consumer choices, suggesting that the Plaintiffs failed to
 21   mitigate damages, or highlighting Plaintiffs’ downstream activities. Those are not
 22   viable defenses to an antitrust violation, and they have no place at trial here. More
 23   broadly, no one disputes that out-of-market televised NFL games are popular and
 24   1
        For the same reasons, federal courts nationwide have barred defendants from
      referring to potential future injunctive relief in the presence of the jury. See Novartis
 25   Pharms. Corp. v. Teva Pharms. USA, Inc., No. 05-cv-1887, 2009 WL 3754170, at
      *5 (D. N.J. Nov. 5, 2009); Verizon Servs., Corp. v. Cox Fibernet Virginia, Inc., No.
 26   Civ. A. 1:08-cv-0157, 2008 WL 5552302, at *1 (E.D. Va. Sept. 12, 2008); Ciena
      Corp. v. Corvis Corp., 352 F. Supp. 2d 526, 529 (D. Del. 2005); Richards Mfg. Co.
 27   v. Thomas & Betts Corp., No. Civ. 01-4677, 2005 WL 6043427, at *1 (D.N.J. Oct.
      31, 2005); Arthrocare Corp. v. Smith & Nephew, Inc., No. Civ.A. 01-504, 2003 WL
 28   1905636, at *1 (D. Del. Apr. 14, 2003); Computer Assocs. Int’l, Inc. v. American
      Fundware, Inc., 831 F. Supp. 1516, 1530 (D. Co. 1993).
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  1   enjoyable (like numerous other valued products and services marred by
  2   anticompetitive conduct), but Plaintiffs, as consumers, deserve the protection of the
  3   antitrust laws no less. This trial concerns the NFL’s conduct; Plaintiffs’ conduct is
  4   largely beside the point.
  5         Federal antitrust courts regularly prohibit evidence and argument impugning
  6   plaintiffs’ decision-making as consumers or highlighting any “pass on” of the
  7   overcharge because those avenues lack relevance and can only cause prejudice and
  8   confusion. So, for example, courts in the Ninth Circuit recognize that an antitrust
  9   plaintiff can recover the full measure of damages even if it passed through some of
 10   those excessive costs to customers. Royal Printing Co. v. Kimberly Clark Corp., 621
 11   F.2d 323, 327 (9th Cir. 1980); Costco Wholesale Corp. v. AU Optronics Corp., No.
 12   C13-1207, 2014 WL 4674390, at *3 (W.D. Wash. Sept. 17, 2014) (“there is no need
 13   to consider burdening the jury with otherwise irrelevant pass-through evidence”); see
 14   In re Nat’l Football League’s Sunday Ticket Antitrust Litig., No. 15-ML-02668 PSG
 15   (JEMx), 2022 WL 1766927, at *1 (C.D. Cal. May 9, 2022) (recognizing the
 16   unavailability of a pass-through defense and noting that “the NFL Defendants are not
 17   asserting a pass-through defense” in this litigation).
 18         These decisions are rooted in the Supreme Court’s holding, some fifty years
 19   ago, that antitrust defendants who overcharge their customers are “not entitled to
 20   assert a passing-on defense.” Hanover Shoe, Inc. v. United Shoe Mach. Corp., 392
 21   U.S. 481, 490 n.8, 494 (1968) (it is “irrelevant that the plaintiff may have passed on
 22   the burden of the overcharge” to its own customers.); see In re Cathode Ray Tube
 23   (CRT) Antitrust Litig., 2016 WL 7800819, at *8 (N.D. Cal. Nov. 15, 2016) (“If the
 24   evidence is irrelevant or prohibited by Hanover Shoe, it should be excluded.”).
 25         For similar reasons, any actual or perceived downstream benefits for the
 26   Plaintiffs, such as increased profits, are irrelevant and the introduction of such
 27   evidence can be prejudicial. Braintree Labs., Inc. v. McKesson Corp., No. 11-80233,
 28   2011 WL 5025096, at *3 (N.D. Cal. Oct. 20, 2011) (“[A] plaintiffs alleged benefit
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  1   from a defendant’s anti-competitive behavior ... is not relevant to whether the
  2   plaintiff [direct purchaser] suffered a cognizable antitrust injury.... [T]he relevant
  3   question is whether the plaintiff paid an overcharge.”); In re Urethane Antitrust
  4   Litig., No. 2:08-5169, 2015 WL 9294670, at *2 (D.N.J. Dec. 21, 2015) (“[T]he
  5   probative value of the proffered [downstream] evidence is low. The risk of prejudice,
  6   on the other hand, is high.”); Columbus Drywall & Insulation, Inc. v. Masco Corp.,
  7   2012 WL 12540321, at *2 (N.D. Ga. July 17, 2012) (granting plaintiffs’ motion in
  8   limine to exclude plaintiffs’ financial information and noting that “[u]nder Hanover
  9   Shoe and its progeny, plaintiffs' financial information is irrelevant to any issue in this
 10   case”).
 11         Relatedly, arguments concerning a duty to mitigate are disfavored in cases
 12   where plaintiffs are seeking to recoup overcharges for products sold at
 13   supracompetitive prices. See In re Airline Ticket Comm’n Antitrust Litig., 918 F.
 14   Supp. 283, 286 (D. Minn. 1996) (denying mitigation defense when plaintiffs sought
 15   overcharge damages caused by buyer cartel); In re Cathode Ray Tube (CRT) Antitrust
 16   Litig., MDL No. 1917, 2016 WL 6216664, at *11 (N.D. Cal. Oct. 25, 2016)
 17   (“Defendants are precluded from presenting evidence or argument suggesting the
 18   DAPs mitigated, or could have mitigated, their damages by increasing the prices they
 19   charged their customers.”); In re TFT-LCD (Flat Panel) Antitrust Litig., Nos. M 07-
 20   1827, 10-1064, 2012 WL 6000154, at *3 (N.D. Cal. Nov. 30, 2012) (“the Court
 21   declines to hold that defendants may assert mitigation as a defense to Dell’s
 22   horizontal price-fixing claim”); In re Static Random Access Memory (SRAM)
 23   Antitrust Litig., No. 07-md-01819, 2010 WL 10086747, at *2 (Dec. 16, 2010)
 24   (granting unopposed motion in limine to exclude “arguments or evidence that
 25   Plaintiffs failed to mitigate damages.”).
 26         Notions of unclean hands and comparative fault also have no bearing here. The
 27   Supreme Court has instructed that “the doctrine of in pari delicto, with its complex
 28   scope, contents, and effects, is not to be recognized as a defense to an antitrust
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  1   action.” Perma Life, 392 U.S. at 140; THI-Hawaii, Inc. v. First Commerce Fin. Corp.,
  2   627 F.2d 991, 995 (9th Cir. 1980) (“The Supreme Court has determined that the
  3   common law defense of in pari delicto has no place in federal antitrust litigation”);
  4   see Kiefer-Stewart Co. v. Joseph E. Seagram & Sons, 340 U.S. 211, 214 (1951);
  5   Purex Corp., Ltd. v. Gen. Foods Corp., 318 F. Supp. 322, 323 (C.D. Cal. 1970)
  6   (recognizing that the Supreme Court has “abolished the defense of ‘unclean hands’
  7   in private antitrust suits”). As a result, casting blame on antitrust plaintiffs (in any
  8   form) for defendants’ actions is inappropriate at trial.
  9         In the absence of a cognizable defense, any evidence of this type lacks
 10   probative value and would only introduce prejudice and confusion. Plaintiffs’
 11   downstream commercial activities, their consumer choices, and any supposed failure
 12   to mitigate damages are immaterial to the NFL’s liability and the amount of damages.
 13   But if this information were permitted at trial, the jury would understandably be
 14   misled and confused into believing it plays a role in factfinding determinations. For
 15   these reasons, this Court should bar any evidence or argument concerning
 16   downstream “pass on” of damages, any supposed failure to mitigate damages, or any
 17   supposed fault from Plaintiffs’ consumer choices. For the sake of clarity, this should
 18   include any suggestion that Plaintiffs are improperly seeking a “refund” for a product
 19   they enjoyed, which implies something untoward when the opposite is true: Congress
 20   has strongly encouraged private plaintiffs to seek the return of antitrust overcharges
 21   for any product, no matter its merits.
 22      III.   Conclusion
 23         For the foregoing reasons, Plaintiffs’ motion in limine to preclude the NFL
 24   Defendants from presenting any evidence or argument concerning the prospect of
 25   injunctive relief, downstream “pass on” of overcharges, or any failure to mitigate
 26   damages or notion of supposed fault from Plaintiffs’ consumer choices.
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  1   Dated: January 5, 2024            Respectfully submitted,
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